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                      UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF TEXAS
                             AUSTIN DIVISION

UNITED STATES OF AMERICA,                   §
                                            §
                                            §
v.                                          §     No. 1:23-CR-00100-DAE
                                            §
(1) NATIN PAUL,                             §
Defendant                                   §


                                       ORDER

      Before the Court is Defendant Natin Paul’s Unopposed Motion for

Continuance, Dkt. 24. The District Court referred the motion to the undersigned for

disposition. After considering the motion and the arguments made at the hearing on

the motion, the Court will grant the requested continuance and reset Paul’s jury

selection and trial for July 29, 2024, as set out below.

      Under the current Scheduling Order, Paul is set for jury selection and trial

on August 14, 2023, with pretrial motions and responses due by August 1 and 3,

respectively, and any plea agreement due by July 28, 2023. Dkt. 20. Paul’s motion,

which the Government does not oppose, seeks to vacate that order, continue the

August 2023 trial date, and suspend the pretrial deadlines set out in the scheduling

order and in the Court’s Order Concerning Discovery and Pretrial Motions, Dkt. 19.

Dkt. 24, at 1. Citing the complexity of the case, and the volume of discovery to be

produced and processed, the motion suggests that the Court set the case for a status

conference in six months and set a trial date at that point. Id., at 3. The

undersigned set the motion for hearing, which took place on July 20, 2023.

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      At the hearing, the undersigned informed the parties that while the Court

intends to grant the requested continuance, the order will include a definite trial

date. Additionally, if the parties decide that a status conference in six months’ time

will be helpful, the parties may file a motion requesting one. Finally, the Court

addressed matters related to the Court’s pretrial submission deadlines, briefing

schedules, and discovery requirements.

                                      *    *      *

      The Court GRANTS Paul’s motion for continuance, Dkt. 24, and MODIFIES

the Court’s Scheduling Order, Dkt. 20, and Order Concerning Discovery and Pre-

Trial Motions, Dkt. 19, as follows:

       Jury selection and trial are set for Monday, July 29, 2024, at 9:00 a.m.

Pursuant to the parties’ agreement on the record, all pretrial motions, including

motions in limine, are due June 17, 2024. Responses to motions filed on this date

are due on July 2, 2024, and replies due on July 10, 2024. Responses to any motions

filed prior to this June 17, 2024, deadline shall be due 14 days following the date

the motion is filed, and replies are due 7 days after the response is filed.

      Pretrial submissions, as set out at pp. 1-2 of the Court’s Scheduling Order,

Dkt. 20, shall be served and filed by the Government by close of business Monday,

July 15, 2024, and by the Defendant by close of business Monday, July 22, 2024.

Defense objections to Government pretrial submissions, as set out at pp. 2-3 of the

Court’s Scheduling Order, Dkt. 20, shall be due by close of business on Wednesday,




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July 17, 2024; Government objections to Defense pretrial submissions shall be due

by close of business on Wednesday, July 24, 2024.

      Pursuant to the Speedy Trial Act, 18 U.S.C. § 3161(h)(7)(A), the Court finds

that the ends of justice will be served by allowing the Defendant the additional time

in which to prepare for trial and that this interest outweighs the interests of the

public and the Defendant in a speedy trial. The Court’s basis for this finding is that

the case is so unusual and complex, due to the nature of the prosecution and volume

of discovery at issue, that it is unreasonable to expect adequate preparation for

pretrial proceedings or for the trial itself within the time limits established by this

section. See 18 U.S.C. § 3161(h)(7)(B)(ii). Moreover, even if this case, taken as a

whole, is not so unusual or so complex as to fall within clause (ii), the failure to

grant a continuance would deny counsel for the Defendant or the attorney for the

Government the reasonable time necessary for effective preparation, taking into

account the exercise of due diligence. Id. § 3161(h)(7)(B)(iv). The Court therefore

ORDERS that the time from August 14, 2023, and until July 29, 2024, be excluded

under the Speedy Trial Act.

      SIGNED July 20, 2023.



                                      DUSTIN M. HOWELL
                                      UNITED STATES MAGISTRATE JUDGE




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